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                              UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA


  IN RE: ROUNDUP PRODUCTS                        MDL No. 2741
  LIABILITY LITIGATION
                                                 Case No. 16-md-02741-VC


  This document relates to:                      ORDER GRANTING PLAINTIFFS'
                                                 MOTION FOR LEAVE TO AMEND
  Perez-Hernandez et al. v. Monsanto Co.,        THE CLASS ACTION COMPLAINT
  Case No. 3:24-cv-01736-VC
                                                 Re: Dkt. No. 18669


       Before this Court is Plaintiffs Jonas Perez-Hernandez and Isabel Paz-Hernandez’s

unopposed motion for leave to amend the class action complaint. Having considered the parties’

arguments, the motion and accompanying filings filed herein, and good cause appearing, the

Court hereby GRANTS the motion.



       IT IS SO ORDERED.
Dated: July 19, 2024
                                            ______________________________________
                                            VINCE CHHABRIA
                                            United States District Judge
